            Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 1 of 17 Page ID #:3032
                                     BackupJudge:Simon, LawClerk:Herzfeld, LawClerk:Zarabozo, PROTECTIVE ORD,
                                        U.S. District Court
                                 District of Oregon (Portland (3))
                         CIVIL DOCKET FOR CASE #: 3:16−cv−00007−PK

Nike, Inc. v. Skechers U.S.A., Inc.                                Date Filed: 01/04/2016
Assigned to: Magistrate Judge Paul Papak                           Jury Demand: Both
Cause: 35:271 Patent Infringement                                  Nature of Suit: 830 Patent
                                                                   Jurisdiction: Federal Question
Plaintiff
Nike, Inc.                                           represented by Aaron P. Bowling
an Oregon corporation                                               Banner & Witcoff, Ltd
                                                                    10 S. Wacker Drive
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                                                                    312−463−5000
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                                                                    Email: abowling@bannerwitcoff.com
                                                                    LEAD ATTORNEY
                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED

                                                                   Audra C. Eidem Heinze
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        Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 2 of 17 Page ID #:3033
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                                                      Email: per.ramfjord@stoel.com
                                                      ATTORNEY TO BE NOTICED


V.
Defendant
         Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 3 of 17 Page ID #:3034
Skechers U.S.A., Inc.                       represented by Drew E. Breuder
a Delaware corporation                                     O'Melveny & Myers LLP
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Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 4 of 17 Page ID #:3035
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Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 5 of 17 Page ID #:3036
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         Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 6 of 17 Page ID #:3037
                                                                         Email: sspiro@irell.com
                                                                         TERMINATED: 05/15/2017
                                                                         PRO HAC VICE

Email All Attorneys

 Date Filed       #     Docket Text

 01/04/2016       Ï1    Complaint. Filing fee in the amount of $400 collected. Agency Tracking ID: 0979−4429183 Filer
                        is subject to the requirements of Fed. R. Civ. P. 7.1. Jury Trial Requested: Yes. Included
                        patents/trademarks: D696,853−−1/7/2014−−Nike, Inc., D700,423−−3/4/2014−−Nike, Inc.,
                        D707,032−−6/17/2014−−Nike, Inc., D723,772−−3/10/2015−−Nike, Inc.,
                        D723,781−−3/10/2015−−Nike, Inc.. Filed by Nike, Inc. against Skechers U.S.A., Inc.
                        (Attachments: # 1 Exhibit, # 2 Civil Cover Sheet, # 3 Proposed Summons). (Ramfjord, Per)
                        (Entered: 01/04/2016)

 01/04/2016       Ï2    Corporate Disclosure Statement . Filed by Nike, Inc.. (Ramfjord, Per) (Entered: 01/04/2016)

 01/05/2016       Ï3    Notice of Case Assignment to Magistrate Judge Paul Papak and Discovery and Pretrial Scheduling
                        Order. NOTICE: Counsel shall print and serve the summonses and all documents issued by
                        the Clerk at the time of filing upon all named parties in accordance with Local Rule 3−5.
                        Discovery is to be completed by 5/4/2016. Joint Alternate Dispute Resolution Report is due by
                        6/3/2016. Pretrial Order is due by 6/3/2016. Ordered by Magistrate Judge Paul Papak. (sss)
                        (Entered: 01/05/2016)

 01/05/2016       Ï4    Summons Issued Electronically as to Skechers U.S.A., Inc.. NOTICE: Counsel shall print and
                        serve the summonses and all documents issued by the Clerk at the time of filing upon all
                        named parties in accordance with Local Rule 3−5. (sss) (Entered: 01/05/2016)

 01/05/2016       Ï5    Motion for Leave to Appear Pro Hac Vice for Attorney Aaron Bowling . Filing fee in the amount
                        of $100 collected; Receipt No.: 25P8HCN6. Filed by Nike, Inc.. (Ramfjord, Per) (Entered:
                        01/05/2016)

 01/05/2016       Ï6    Motion for Leave to Appear Pro Hac Vice for Attorney Michael J. Harris . Filing fee in the
                        amount of $100 collected; Agency Tracking ID: 0979−4431403. Filed by Nike, Inc.. (Ramfjord,
                        Per) (Entered: 01/05/2016)

 01/05/2016       Ï7    Motion for Leave to Appear Pro Hac Vice for Attorney Audra C. Eidem Heinze . Filing fee in the
                        amount of $100 collected; Agency Tracking ID: 0979−4431409. Filed by Nike, Inc.. (Ramfjord,
                        Per) (Entered: 01/05/2016)

 01/05/2016       Ï8    Motion for Leave to Appear Pro Hac Vice for Attorney Erik S. Maurer . Filing fee in the amount
                        of $100 collected; Receipt No.: 25P8HE3O. Filed by Nike, Inc.. (Ramfjord, Per) (Entered:
                        01/05/2016)

 01/05/2016       Ï9    Motion for Leave to Appear Pro Hac Vice for Attorney Christopher J. Renk . Filing fee in the
                        amount of $100 collected; Agency Tracking ID: 0979−4431425. Filed by Nike, Inc.. (Ramfjord,
                        Per) (Entered: 01/05/2016)

 01/07/2016      Ï 10   ORDER: Granting Application for Special Admission Pro Hac Vice of Audra C. Eidem Heinze
                        for Nike, Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4431409 issued.
                        Signed on 1/7/16 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/07/2016)

 01/07/2016      Ï 11   Notification of CM/ECF Account for Attorney Audra C. Eidem Heinze (Pro Hac Vice admission).
                        Your login is: aceidemheinze. Go to the CM/ECF login page to set your password. (ecp)
                        (Entered: 01/07/2016)
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 7 of 17 Page ID #:3038
01/07/2016   Ï 12   ORDER: Granting Application for Special Admission Pro Hac Vice of Aaron P. Bowling for
                    Nike, Inc.. Application Fee in amount of $100 collected. Receipt No. 25P8HCN6 issued. Signed
                    on 1/7/16 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/07/2016)

01/07/2016   Ï 13   Notification of CM/ECF Account for Attorney Aaron P. Bowling (Pro Hac Vice admission). Your
                    login is: apbowling. Go to the CM/ECF login page to set your password. (ecp) (Entered:
                    01/07/2016)

01/07/2016   Ï 14   ORDER: Granting Application for Special Admission Pro Hac Vice of Michael J. Harris for
                    Nike, Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4431403 issued.
                    Signed on 1/7/16 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/07/2016)

01/07/2016   Ï 15   Notification of CM/ECF Account for Attorney Michael J. Harris (Pro Hac Vice admission). Your
                    login is: mjharris. Go to the CM/ECF login page to set your password. (ecp) (Entered:
                    01/07/2016)

01/07/2016   Ï 16   ORDER: Granting Application for Special Admission Pro Hac Vice of Erik S. Maurer for Nike,
                    Inc.. Application Fee in amount of $100 collected. Receipt No. 25P8HE3O issued. Signed on
                    1/7/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/07/2016)

01/07/2016   Ï 17   Notification of CM/ECF Account for Attorney Erik S. Maurer (Pro Hac Vice admission). Your
                    login is: esmaurer. Go to the CM/ECF login page to set your password. (ecp) (Entered:
                    01/07/2016)

01/07/2016   Ï 18   ORDER: Granting Application for Special Admission Pro Hac Vice of Christopher J. Renk for
                    Nike, Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4431425 issued.
                    Signed on 1/7/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/07/2016)

01/07/2016   Ï 19   Notification of CM/ECF Account for Attorney Christopher J. Renk (Pro Hac Vice admission).
                    Your login is: cjrenk. Go to the CM/ECF login page to set your password. (ecp) (Entered:
                    01/07/2016)

01/20/2016   Ï 20   Unopposed Motion for Extension of Time to Answer . Filed by Skechers U.S.A., Inc.. (DeJong,
                    Timothy) (Entered: 01/20/2016)

01/20/2016   Ï 21   Corporate Disclosure Statement . Filed by Skechers U.S.A., Inc.. (DeJong, Timothy) (Entered:
                    01/20/2016)

01/20/2016   Ï 22   ORDER issued by Magistrate Judge Paul Papak: Granting Defendant's Unopposed Motion for
                    Extension of Time 20 as follows: Answer deadline reset to 3/3/2016 for Defendant Skechers
                    U.S.A. Inc. (gm) (Entered: 01/20/2016)

01/20/2016   Ï 23   Motion for Leave to Appear Pro Hac Vice for Attorney Mark Alan Samuels . Filing fee in the
                    amount of $100 collected; Agency Tracking ID: 0979−4450893. Filed by Skechers U.S.A., Inc..
                    (DeJong, Timothy) (Entered: 01/20/2016)

01/20/2016   Ï 24   Motion for Leave to Appear Pro Hac Vice for Attorney Jeffrey A. Barker . Filing fee in the amount
                    of $100 collected; Agency Tracking ID: 0979−4450902. Filed by Skechers U.S.A., Inc.. (DeJong,
                    Timothy) (Entered: 01/20/2016)

01/20/2016   Ï 25   Motion for Leave to Appear Pro Hac Vice for Attorney Brian M. Berliner . Filing fee in the
                    amount of $100 collected; Agency Tracking ID: 0979−4450909. Filed by Skechers U.S.A., Inc..
                    (DeJong, Timothy) (Entered: 01/20/2016)

01/21/2016   Ï 26   ORDER: Granting Application for Special Admission Pro Hac Vice of Mark A. Samuels for
                    Skechers U.S.A., Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4450893
                    issued. Signed on 1/21/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/21/2016)
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 8 of 17 Page ID #:3039
01/21/2016   Ï 27   ORDER: Granting Application for Special Admission Pro Hac Vice of Jeffrey A. Barker for
                    Skechers U.S.A., Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4450902
                    issued. Signed on 1/21/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/21/2016)

01/21/2016   Ï 28   ORDER: Granting Application for Special Admission Pro Hac Vice of Brian M. Berliner for
                    Skechers U.S.A., Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4450909
                    issued. Signed on 1/21/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/21/2016)

01/21/2016   Ï 29   Notification of CM/ECF Account for Attorney Brian M. Berliner (Pro Hac Vice admission). Your
                    login is: bmberliner. Go to the CM/ECF login page to set your password. (ecp) (Entered:
                    01/21/2016)

01/22/2016   Ï 30   Motion for Leave to Appear Pro Hac Vice for Attorney Daniel M. Petrocelli . Filing fee in the
                    amount of $100 collected; Agency Tracking ID: 0979−4454526. Filed by Skechers U.S.A., Inc..
                    (DeJong, Timothy) (Entered: 01/22/2016)

01/22/2016   Ï 31   Motion for Leave to Appear Pro Hac Vice for Attorney Jordan Raphael . Filing fee in the amount
                    of $100 collected; Agency Tracking ID: 0979−4454536. Filed by Skechers U.S.A., Inc.. (DeJong,
                    Timothy) (Entered: 01/22/2016)

01/25/2016   Ï 32   ORDER: Granting Application for Special Admission Pro Hac Vice of Jordan Raphael for
                    Skechers U.S.A., Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4454536
                    issued. Signed on 1/25/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/25/2016)

01/25/2016   Ï 33   ORDER: Granting Application for Special Admission Pro Hac Vice of Daniel M. Petrocelli for
                    Skechers U.S.A., Inc.. Application Fee in amount of $100 collected. Receipt No. 0979−4454526
                    issued. Signed on 1/25/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/25/2016)

03/02/2016   Ï 34   Motion for Leave to Appear Pro Hac Vice for Attorney Drew E. Breuder . Filing fee in the amount
                    of $300 collected; Agency Tracking ID: 0979−4510947. Filed by Skechers U.S.A., Inc.. (Gill,
                    Jacob) (Entered: 03/02/2016)

03/03/2016   Ï 35   ORDER: Granting Application for Special Admission Pro Hac Vice of Drew E. Breuder for
                    Skechers U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−4510947
                    issued. Signed on 3/3/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 03/03/2016)

03/03/2016   Ï 36   Notification of CM/ECF Account for Attorney Drew E. Breuder (Pro Hac Vice admission). Your
                    login is: debreuder. Go to the CM/ECF login page to set your password. (ecp) (Entered:
                    03/03/2016)

03/03/2016   Ï 37   Answer to 1 Complaint,, with Jury Demand . Filed by Skechers U.S.A., Inc.. (Shlachter, Robert)
                    (Entered: 03/03/2016)

03/07/2016   Ï 38   ORDER issued by Magistrate Judge Paul Papak: Rule 16 Conference set for 3/28/2016 at 2:00PM
                    in Portland Chambers before Magistrate Judge Paul Papak. Local Rules 16−2(b) and 26−1 require
                    that counsel confer prior to the conference. At the conference, counsel should be prepared to
                    discuss the status of the case, relevant dates and deadlines, and any other significant issues. If
                    consents are going to be filed, it is helpful if they are filed prior to the time of the conference,
                    particularly if a firm trial date is desired. (gm) (Entered: 03/09/2016)

03/15/2016   Ï 39   ORDER issued by Magistrate Judge Paul Papak: Setting a Telephonic Scheduling Conference for
                    3/15/2016 at 3:00PM in Portland Chambers before Magistrate Judge Paul Papak. The parties shall
                    call into the court's conference line (phone number to be provided via separate email) five minutes
                    prior to the scheduled conference time. The court will join the conference call at or shortly after
                    the appointed time. (gm) (Entered: 03/15/2016)

03/15/2016   Ï 40   MINUTES OF PROCEEDINGS before Magistrate Judge Paul Papak: Telephonic Scheduling
                    Conference held 3/16/16. Order: Resetting the Rule 16 Conference from 3/28/2016 at 2:00PM to a
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 9 of 17 Page ID #:3040
                    Telephonic Rule 16 Conference on 4/12/2016 at 10:00AM in Portland Chambers before
                    Magistrate Judge Paul Papak. The parties shall call into the court's conference line (phone number
                    to be provided via separate email) five minutes prior to the scheduled conference time. The court
                    will join the conference call at or shortly after the appointed time. Local Rules 16−2(b) and 26−1
                    require that counsel confer prior to the conference. At the conference, counsel should be prepared
                    to discuss the status of the case, relevant dates and deadlines, and any other significant issues. If
                    consents are going to be filed, it is helpful if they are filed prior to the time of the conference,
                    particularly if a firm trial date is desired. Erik Maurer; Per Ramfjord present as counsel for
                    plaintiff(s). Brian Berliner; Robert Shlachter present as counsel for defendant(s). Court Reporter:
                    (None). (gm) (Entered: 03/16/2016)

04/08/2016   Ï 41   Joint Fed. R. Civ. P. 26(a)(1) Agreement (Proposed Discovery Plan). Filed by Nike, Inc..
                    (Ramfjord, Per) (Entered: 04/08/2016)

04/08/2016   Ï 42   Stipulated Motion for Protective Order . Filed by Nike, Inc.. (Ramfjord, Per) (Entered:
                    04/08/2016)

04/08/2016   Ï 43   Joint Proposed Form of Order Submitted Regarding E−Discovery in Patent Cases. Filed by Nike,
                    Inc.. (Ramfjord, Per) (Entered: 04/08/2016)

04/08/2016   Ï 44   STIPULATED PROTECTIVE ORDER. Signed on 4/8/16 by Magistrate Judge Paul Papak.
                    (gm) (Entered: 04/08/2016)

04/08/2016   Ï 45   ORDER REGARDING E−DISCOVERY IN PATENT CASES. Signed on 4/8/16 by
                    Magistrate Judge Paul Papak. (gm) (Entered: 04/08/2016)

04/12/2016   Ï 46   MINUTES OF PROCEEDINGS before Magistrate Judge Paul Papak: Telephonic Rule 16
                    Conference held 4/12/16. Order: Setting the following schedule re: motion to stay: Defendant's
                    motion to stay due 4/11/2016. Response to motion to stay due 4/28/2016. Reply to response to
                    motion to stay due 5/16/2016. Telephonic Oral Argument on the motion to stay, once filed, will be
                    set for 5/23/2016 at 10:00AM. Order: Resetting the following deadlines: Initial disclosures to be
                    completed by 4/25/2016. Parties to confer re: ADR by 5/3/2016. FRCP 7 & 15 pleadings and
                    FRCP 18 & 19 Joinders due 5/4/2016. Joint ADR Report deadline (re)set to 6/2/2016. Written
                    consents, if any, should be submitted by 6/2/2016. Fact Discovery motions due by 3/17/2017. Fact
                    Discovery to be completed by 3/24/2017. Initial Expert Reports to be exchanged by 4/28/2017.
                    Rebuttal Expert Reports to be exchanged by 5/26/2017. Expert Discovery Motions, excluding
                    Daubert−related motions, due by 6/23/2017. Expert Discovery to be completed by 6/30/2017.
                    Dispositive motions deadline (re)set to 7/14/2017. Response to dispositive motion(s) due
                    8/4/2017. Replies to responses to dispositive motions due 8/18/2017. Pretrial Order deadline
                    (re)set to 9/19/2017 or until 30 days after this Court's final ruling on dispositive motions,
                    whichever date is later. Pretrial motions, motions in limine and any pretrial−related Daubert
                    motions deadlines will be set by the trial judge. Erik Maurer; Per Ramfjord; Audra Eiden Heinze
                    present as counsel for plaintiff(s). Brian Berliner; Robert Shlachter; Jordan Raphael present as
                    counsel for defendant(s). Court Reporter: (None). (gm) (Entered: 04/12/2016)

04/12/2016   Ï 47   AMENDED MINUTES OF PROCEEDINGS before Magistrate Judge Paul Papak: Telephonic
                    Rule 16 Conference held 4/12/16. Order: Setting the following schedule re: motion to stay:
                    Defendant's motion to stay due 4/22/2016. Response to motion to stay due 5/9/2016. Reply to
                    response to motion to stay due 5/16/2016. Telephonic Oral Argument on the motion to stay, once
                    filed, will be set for 5/23/2016 at 10:00AM. Order: Resetting the following deadlines: Initial
                    disclosures to be completed by 4/25/2016. Parties to confer re: ADR by 5/3/2016. FRCP 7 & 15
                    pleadings and FRCP 18 & 19 Joinders due 5/4/2016. Joint ADR Report deadline (re)set to
                    6/2/2016. Written consents, if any, should be submitted by 6/2/2016. Fact Discovery motions due
                    by 3/17/2017. Fact Discovery to be completed by 3/24/2017. Initial Expert Reports to be
                    exchanged by 4/28/2017. Rebuttal Expert Reports to be exchanged by 5/26/2017. Expert
                    Discovery Motions, excluding Daubert−related motions, due by 6/23/2017. Expert Discovery to
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 10 of 17 Page ID #:3041
                    be completed by 6/30/2017. Dispositive motions deadline (re)set to 7/14/2017. Response to
                    dispositive motion(s) due 8/4/2017. Replies to responses to dispositive motions due 8/18/2017.
                    Pretrial Order deadline (re)set to 9/19/2017 or until 30 days after this Court's final ruling on
                    dispositive motions, whichever date is later. Pretrial motions, motions in limine and any
                    pretrial−related Daubert motions deadlines will be set by the trial judge. Erik Maurer; Per
                    Ramfjord; Audra Eiden Heinze present as counsel for plaintiff(s). Brian Berliner; Robert
                    Shlachter; Jordan Raphael present as counsel for defendant(s). Court Reporter: (None). (gm)
                    (Entered: 04/13/2016)

04/22/2016   Ï 48   ***WITHDRAWN*** Motion for Stay Pending Completion of IPR Proceedings. Oral Argument
                    requested. Filed by Skechers U.S.A., Inc.. (Gill, Jacob) Modified on 5/20/2016 (gm). (Entered:
                    04/22/2016)

04/22/2016   Ï 49   Declaration of Brian M. Berliner . Filed by Skechers U.S.A., Inc.. (Related document(s): Motion
                    for Stay 48 .) (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                    5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8) (Gill, Jacob) (Entered: 04/22/2016)

04/22/2016   Ï 50   Declaration of Kathy Kartalis . Filed by Skechers U.S.A., Inc.. (Related document(s): Motion for
                    Stay 48 .) (Gill, Jacob) (Entered: 04/22/2016)

04/25/2016   Ï 51   ORDER issued by Magistrate Judge Paul Papak: Setting Defendant's Motion to Stay Case
                    Pending Completion of IPR Proceedings 48 on the Telephonic Oral Argument Calendar of
                    5/23/2016 at 10:00AM in Portland Chambers before Magistrate Judge Paul Papak. The parties
                    shall call into the court's conference line (phone number to be provided via separate email) five
                    minutes prior to the scheduled conference time. The court will join the conference call at or
                    shortly after the appointed time. (gm) (Entered: 04/25/2016)

05/09/2016   Ï 52   Response in Opposition to Motion for Stay Pending Completion of IPR Proceedings 48 . Filed by
                    Nike, Inc.. (Ramfjord, Per) (Entered: 05/09/2016)

05/09/2016   Ï 53   Declaration of Audra C. Eidem Heinze. Filed by Nike, Inc.. (Related document(s): Response in
                    Opposition to Motion 52 .) (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Ramfjord, Per) (Entered:
                    05/09/2016)

05/16/2016   Ï 54   Reply in support to Motion for Stay Pending Completion of IPR Proceedings 48 Oral Argument
                    requested. Filed by Skechers U.S.A., Inc.. (DeJong, Timothy) (Entered: 05/16/2016)

05/16/2016   Ï 55   Second Declaration of Brian M. Berliner in support of Defendant Skechers U.S.A., Inc.'s Motion to
                    Stay Pending Completion of IPR Proceedings. Filed by Skechers U.S.A., Inc.. (Related
                    document(s): Reply to Motion 54 .) (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                    Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8) (DeJong, Timothy) (Entered:
                    05/16/2016)

05/20/2016   Ï 56   ORDER issued by Magistrate Judge Paul Papak: Granting the parties' unopposed E−mail Request
                    dated 5/18/16 to stay proceedings and to withdraw Defendant's Motion to Stay Case. Defendant's
                    Motion to Stay Case Pending Completion of IPR Proceedings 48 is Withdrawn and the matter
                    Stricken from the telephonic oral argument calendar of 5/23/2016 at 10:00AM. This case is Stayed
                    until 10/31/2016. The parties shall file a formal Joint Status Report no later than 10/31/2016 to
                    advise the Court as to the status of the stay of this case and/or to indicate an appropriate
                    discovery/pretrial schedule for the case going forward. (gm) (Entered: 05/20/2016)

07/07/2016   Ï 57   Notice of Change of Address. Filed by Nike, Inc. (Ramfjord, Per) (Entered: 07/07/2016)

10/31/2016   Ï 58   Joint Status Report . Filed by Nike, Inc.. (Ramfjord, Per) (Entered: 10/31/2016)

10/31/2016   Ï 59   ORDER issued by Magistrate Judge Paul Papak: The parties shall file another formal Joint Status
                    Report no later than 11/28/2016 to advise the Court as to the status of the stay of this case and/or
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 11 of 17 Page ID #:3042
                    to indicate an appropriate discovery/pretrial schedule for the case going forward. (gm) (Entered:
                    10/31/2016)

11/23/2016   Ï 60   Motion for Extension of Time to File Joint Status Report. Expedited Hearing requested. Filed by
                    All Defendants. (Gill, Jacob) (Entered: 11/23/2016)

11/28/2016   Ï 61   Joint Status Report . Filed by Nike, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                    C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H) (Ramfjord, Per)
                    (Entered: 11/28/2016)

11/29/2016   Ï 62   Notice of Association of Attorney Jacob S. Gill,Samuel K. Lu for Skechers U.S.A., Inc.. Filed by
                    Skechers U.S.A., Inc. (Gill, Jacob) (Entered: 11/29/2016)

11/29/2016   Ï 63   Notice of Association of Attorney Jacob S. Gill,Morgan Chu for Skechers U.S.A., Inc.. Filed by
                    Skechers U.S.A., Inc. (Gill, Jacob) (Entered: 11/29/2016)

11/29/2016   Ï 68   ORDER issued by Magistrate Judge Paul Papak: Based on the parties' Joint Status Report 61 ,
                    Defendant's Motion for Extension of Time 60 is Withdrawn. Order: Having reviewed the parties'
                    Joint Status Report, the Stay of this case is Lifted and the case schedule is set as follows and as
                    modified: Joint ADR Report deadline (re)set to 3/24/2017. Fact discovery motions due by
                    8/11/2017. Written consents, if any, should be submitted by 8/11/2017. Fact Discovery to be
                    completed by 8/18/2017. Initial Expert Reports to be exchanged by 9/29/2017.
                    Rebuttal/Responsive Expert Reports to be exchanged by 11/3/2017. Expert discovery motions due
                    by 12/1/2017. Expert Discovery to be completed by 12/5/2017. Dispositive motions deadline
                    (re)set to 12/12/2017. Response to dispositive motion(s) due 1/5/2018. Replies to responses to
                    dispositive motions due 1/19/2018. Pretrial Order deadline (re)set to 5/4/2018. The filing deadline
                    for any pretrial motions, motions in limine and Daubert motions shall be determined by the trial
                    judge. (gm) (Entered: 12/01/2016)

11/30/2016   Ï 64   Notice of Attorney Withdrawal: Daniel M. Petrocelli Filed by Skechers U.S.A., Inc. (Gill, Jacob)
                    (Entered: 11/30/2016)

11/30/2016   Ï 65   Notice of Attorney Withdrawal: Mark A. Samuels Filed by Skechers U.S.A., Inc. (Gill, Jacob)
                    (Entered: 11/30/2016)

11/30/2016   Ï 66   Notice of Attorney Withdrawal: Brian M. Berliner Filed by Skechers U.S.A., Inc. (Gill, Jacob)
                    (Entered: 11/30/2016)

11/30/2016   Ï 67   Notice of Attorney Withdrawal: Jeffrey A. Barker Filed by Skechers U.S.A., Inc. (Gill, Jacob)
                    (Entered: 11/30/2016)

12/07/2016   Ï 69   Motion for Leave to Appear Pro Hac Vice for Attorney Samuel K. Lu . Filing fee in the amount of
                    $300 collected; Agency Tracking ID: 0979−4836967. Filed by Skechers U.S.A., Inc.. (Gill, Jacob)
                    (Entered: 12/07/2016)

12/07/2016   Ï 70   Motion for Leave to Appear Pro Hac Vice for Attorney Talin Gordnia . Filing fee in the amount of
                    $300 collected; Agency Tracking ID: 0979−4837007. Filed by Skechers U.S.A., Inc.. (Gill, Jacob)
                    (Entered: 12/07/2016)

12/07/2016   Ï 71   Motion for Leave to Appear Pro Hac Vice for Attorney Thomas C. Werner . Filing fee in the
                    amount of $300 collected; Agency Tracking ID: 0979−4837062. Filed by Skechers U.S.A., Inc..
                    (Gill, Jacob) (Entered: 12/07/2016)

12/09/2016   Ï 72   ORDER: Granting Application for Special Admission Pro Hac Vice of Samuel K. Lu for
                    Skechers U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−4836967
                    issued. Signed on 12/9/2016 by Magistrate Judge Paul Papak. (ecp) Modified on 12/12/2016 to
                    correct file date(ecp). (Entered: 12/12/2016)
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 12 of 17 Page ID #:3043
12/09/2016   Ï 73   Notification of CM/ECF Account for Samuel K. Lu (Pro Hac Vice admission). Your login is:
                    sklu. Go to the CM/ECF login page to set your password. (ecp) (Entered: 12/12/2016)

12/09/2016   Ï 74   ORDER: Granting Application for Special Admission Pro Hac Vice of Talin Gordnia for
                    Skechers U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−4837007
                    issued. Signed on 12/9/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 12/12/2016)

12/09/2016   Ï 75   Notification of CM/ECF Account for Talin Gordnia (Pro Hac Vice admission). Your login is:
                    tgordnia. Go to the CM/ECF login page to set your password. (ecp) (Entered: 12/12/2016)

12/09/2016   Ï 76   ORDER: Granting Application for Special Admission Pro Hac Vice of Thomas C. Werner for
                    Skechers U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−4837062
                    issued. Signed on 12/9/2016 by Magistrate Judge Paul Papak. (ecp) (Entered: 12/12/2016)

12/09/2016   Ï 77   Notification of CM/ECF Account for Thomas C. Werner (Pro Hac Vice admission). Your login is:
                    tcwerner. Go to the CM/ECF login page to set your password. (ecp) (Entered: 12/12/2016)

12/22/2016   Ï 78   Motion for Leave to Appear Pro Hac Vice for Attorney Stephanie Spiro . Filing fee in the amount
                    of $300 collected; Agency Tracking ID: 0979−4852888. Filed by All Defendants. (Gill, Jacob)
                    (Entered: 12/22/2016)

01/03/2017   Ï 79   ORDER: Granting Application for Special Admission Pro Hac Vice of Stephanie B. Spiro for
                    Skechers U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−4852888
                    issued. Signed on 1/3/2017 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/05/2017)

01/03/2017   Ï 80   Notification of CM/ECF Account for Stephanie B. Spiro (Pro Hac Vice admission). Your login is:
                    sbspiro. Go to the CM/ECF login page to set your password. (ecp) (Entered: 01/05/2017)

01/12/2017   Ï 81   Motion for Leave to Appear Pro Hac Vice for Attorney Morgan Chu . Filing fee in the amount of
                    $300 collected; Agency Tracking ID: 0979−4869961. Filed by All Defendants. (Gill, Jacob)
                    (Entered: 01/12/2017)

01/17/2017   Ï 82   ORDER: Granting Application for Special Admission Pro Hac Vice of Morgan Chu for Skechers
                    U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−4869961 issued.
                    Signed on 1/17/2017 by Magistrate Judge Paul Papak. (ecp) (Entered: 01/19/2017)

01/17/2017   Ï 83   Notification of CM/ECF Account for Morgan Chu (Pro Hac Vice admission). Your login is:
                    mchu. Go to the CM/ECF login page to set your password. (ecp) (Entered: 01/19/2017)

03/01/2017   Ï 84   Motion to Compel and Supporting Memorandum. Filed by Nike, Inc.. (Attachments: # 1
                    Appendix A) (Ramfjord, Per) (Entered: 03/01/2017)

03/01/2017   Ï 85   Declaration of Aaron P. Bowling in Support of Plaintiff NIKE, Inc.'s Motion to Compel. Filed by
                    Nike, Inc.. (Related document(s): Motion to compel 84 .) (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                    Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M) (Ramfjord, Per)
                    (Entered: 03/01/2017)

03/01/2017   Ï 86   ORDER issued by Magistrate Judge Paul Papak: Setting Plaintiff's Motion to Compel 84 on the
                    under advisement calendar of 3/21/2017. (gm) (Entered: 03/02/2017)

03/13/2017   Ï 87   Memorandum in Opposition to Motion to Compel and Supporting Memorandum 84 Oral
                    Argument requested. Filed by Skechers U.S.A., Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #
                    3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8) (DeJong,
                    Timothy) (Entered: 03/13/2017)

03/13/2017   Ï 88   Declaration of Thomas C. Werner in Support of Memorandum in Opposition to Plaintiff's Motion
                    to Compel. Filed by Skechers U.S.A., Inc.. (Related document(s): Memorandum in Opposition, 87
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 13 of 17 Page ID #:3044
                     .) (DeJong, Timothy) (Entered: 03/13/2017)

03/13/2017    Ï 89   Notice re Motion to compel 84 Notice of Withdrawal of Motion to Compel Filed by Nike, Inc.
                     (Related document(s): Motion to compel 84 .) (Ramfjord, Per) (Entered: 03/13/2017)

03/13/2017    Ï 90   Declaration of Talin Gordnia in Support of Memorandum in Opposition to Plaintiff's Motion to
                     Compel. Filed by Skechers U.S.A., Inc.. (Related document(s): Memorandum in Opposition, 87 .)
                     (DeJong, Timothy) (Entered: 03/13/2017)

03/13/2017    Ï 91   Declaration of Timothy S. DeJong in Support of Memorandum in Opposition to Plaintiff's Motion
                     to Compel. Filed by Skechers U.S.A., Inc.. (Related document(s): Memorandum in Opposition, 87
                     .) (DeJong, Timothy) (Entered: 03/13/2017)

03/14/2017    Ï 92   ORDER issued by Magistrate Judge Paul Papak: Based on Plaintiff's Notice of Withdrawal 89 ,
                     Plaintiff's Motion to Compel 84 is Withdrawn and the matter is Stricken from the under
                     advisement calendar of 3/21/2017. (gm) (Entered: 03/14/2017)

03/20/2017    Ï 93   Joint ADR Report . Filed by Nike, Inc..(Ramfjord, Per) (Entered: 03/20/2017)

05/10/2017    Ï 94   Motion to Compel Skechers U.S.A., Inc. to Substantially Complete Its Document Production and
                     Produce Its Fact Witnesses for Depositions. Filed by Nike, Inc.. (Attachments: # 1 Appendix A)
                     (Ramfjord, Per) (Entered: 05/10/2017)

05/10/2017    Ï 95   Declaration of Audra C. Eidem Heinze in Support of Motion to Compel. Filed by Nike, Inc..
                     (Related document(s): Motion to compel 94 .) (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                     Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I,
                     # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O)
                     (Ramfjord, Per) (Entered: 05/10/2017)

05/11/2017    Ï 96   ORDER issued by Magistrate Judge Paul Papak: Setting Plaintiff's Motion to Compel 94 on the
                     under advisement calendar of 5/30/2017. (gm) (Entered: 05/11/2017)

05/15/2017    Ï 97   Notice of Attorney Withdrawal: Stephanie Spiro Filed by Skechers U.S.A., Inc. (DeJong,
                     Timothy) (Entered: 05/15/2017)

05/16/2017    Ï 98   Motion for Leave to Appear Pro Hac Vice for Attorney Elliot Z. Chen . Filing fee in the amount of
                     $300 collected; Agency Tracking ID: 0979−5010522. Filed by Skechers U.S.A., Inc.. (Gill, Jacob)
                     (Entered: 05/16/2017)

05/16/2017    Ï 99   ORDER: Granting Application for Special Admission Pro Hac Vice of Elliot Z. Chen for
                     Skechers U.S.A., Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−5010522
                     issued. Signed on 5/16/2017 by Magistrate Judge Paul Papak. (ecp) (Entered: 05/16/2017)

05/16/2017   Ï 100   Notification of CM/ECF Account for Elliot Z. Chen (Pro Hac Vice admission). Your login is:
                     ezchen. Go to the CM/ECF login page to set your password. (ecp) (Entered: 05/16/2017)

05/23/2017   Ï 101   Motion to Change or Transfer Venue titled as "Skecher's Expedited Motion to Transfer Venue and
                     Memorandum in Support". Filed by Skechers U.S.A., Inc.. (DeJong, Timothy) (Entered:
                     05/23/2017)

05/23/2017   Ï 102   Declaration of Talin Gordnia . Filed by Skechers U.S.A., Inc.. (Related document(s): Motion to
                     change/transfer venue 101 .) (Attachments: # 1 Exhibit A) (DeJong, Timothy) (Entered:
                     05/23/2017)

05/23/2017   Ï 103   Declaration of Brian K. Cross . Filed by Skechers U.S.A., Inc.. (Related document(s): Motion to
                     change/transfer venue 101 .) (DeJong, Timothy) (Entered: 05/23/2017)

05/23/2017   Ï 104
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 14 of 17 Page ID #:3045
                     Notice re Motion to change/transfer venue 101 Request for Expedited Oral Argument Filed by
                     Skechers U.S.A., Inc. (Related document(s): Motion to change/transfer venue 101 .) (DeJong,
                     Timothy) (Entered: 05/23/2017)

05/24/2017   Ï 105   Memorandum in Opposition to Motion to Compel Skechers U.S.A., Inc. to Substantially Complete
                     Its Document Production and Produce Its Fact Witnesses for Depositions 94 Oral Argument
                     requested. Filed by Skechers U.S.A., Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                     3, # 4 Exhibit 4) (Werner, Thomas) (Entered: 05/24/2017)

05/24/2017   Ï 106   Declaration of Thomas C. Werner in support of Opposition to Motion to Compel Skechers U.S.A.,
                     Inc. to Substantially Complete Its Document Production and Produce Its Fact Witnesses for
                     Depositions. Filed by Skechers U.S.A., Inc.. (Related document(s): Memorandum in Opposition,
                     105 .) (Werner, Thomas) (Entered: 05/24/2017)

05/24/2017   Ï 107   ORDER issued by Magistrate Judge Paul Papak: Setting a Telephonic Scheduling Conference for
                     5/26/2017 at 1:30PM in Portland Chambers before Magistrate Judge Paul Papak. The parties shall
                     call into the court's conference line (phone number to be provided via separate email) five minutes
                     prior to the scheduled conference time. The court will join the conference call at or shortly after
                     the appointed time. (gm) (Entered: 05/25/2017)

05/25/2017   Ï 108   Motion for Leave to Appear Pro Hac Vice for Attorney Kurt C. Riester . Filing fee in the amount
                     of $300 collected; Agency Tracking ID: 0979−5021977. Filed by Nike, Inc.. (Ramfjord, Per)
                     (Entered: 05/25/2017)

05/26/2017   Ï 109   MINUTES OF PROCEEDINGS before Magistrate Judge Paul Papak: Telephonic Scheduling
                     Conference held 5/26/17. Order: The parties are to confer regarding jurisdictional discovery and a
                     briefing schedule for the pending motion to transfer venue and report to the court no later than
                     6/1/2017. Audra Eidem Heinze; Per Ramfjord present as counsel for plaintiff(s). Samuel Lu;
                     Thomas Werner; Timothy DeJong present as counsel for defendant(s). Court Reporter: (None).
                     (gm) (Entered: 05/26/2017)

06/01/2017   Ï 110   Joint Report Regarding Venue−Related Discovery and Briefing Schedule for Pending Motion to
                     Transfer. Filed by Nike, Inc.. (Attachments: # 1 Exhibit A) (Ramfjord, Per) (Entered: 06/01/2017)

06/02/2017   Ï 111   Response Regarding Waiver in Opposition to Motion to Change or Transfer Venue titled as
                     "Skecher's Expedited Motion to Transfer Venue and Memorandum in Support" 101 . Filed by
                     Nike, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3) (Ramfjord, Per) (Entered:
                     06/02/2017)

06/08/2017   Ï 112   Supplement Notice of Supplemental Authority. Filed by Nike, Inc.. (Related document(s):
                     Response to Motion, 111 .) (Ramfjord, Per) (Entered: 06/08/2017)

06/08/2017   Ï 113   Exhibits Exhibit A to Plaintiff NIKE, Inc.'s Notice of Supplemental Authority re Supplement 112 .
                     Filed by Nike, Inc.. (Ramfjord, Per) (Entered: 06/08/2017)

06/09/2017   Ï 114   Reply to Motion to Change or Transfer Venue titled as "Skecher's Expedited Motion to Transfer
                     Venue and Memorandum in Support" 101 . Filed by Skechers U.S.A., Inc.. (DeJong, Timothy)
                     (Entered: 06/09/2017)

06/16/2017   Ï 115   Joint Brief Joint Position Statement Regarding Venue−Related Discovery Disputes, ORAL
                     ARGUMENT REQUESTED BY DEFENDANT SKECHERS U.S.A., INC.. Filed by Nike, Inc..
                     (Attachments: # 1 Appendix A, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3) (Ramfjord, Per)
                     (Entered: 06/16/2017)

06/19/2017   Ï 116   ORDER issued by Magistrate Judge Paul Papak: The deadlines as proposed in the parties' Joint
                     Report Regarding Briefing Schedule for Pending Motion to Transfer 110 are Adopted. Order:
                     Setting Defendants' Motion to Transfer Venue to the Central District of California 101 on the Oral
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 15 of 17 Page ID #:3046
                     Argument Calendar of 8/9/2017 at 10:00AM in Courtroom 10B before Magistrate Judge Paul
                     Papak. Order: Setting a Telephone Conference re: venue−related discovery issues for 6/28/2017 at
                     2:00PM in Portland Chambers before Magistrate Judge Paul Papak. The parties shall call into the
                     court's conference line (phone number to be provided via separate email) five minutes prior to the
                     scheduled conference time. The court will join the conference call at or shortly after the appointed
                     time. (gm) (Entered: 06/19/2017)

06/27/2017   Ï 117   ORDER: Granting Application for Special Admission Pro Hac Vice of Kurt C. Riester for Nike,
                     Inc.. Application Fee in amount of $300 collected. Receipt No. 0979−5021977 issued. Signed on
                     6/29/2017 by Magistrate Judge Paul Papak. (ecp) (Entered: 06/29/2017)

06/27/2017   Ï 118   Notification of CM/ECF Account for Kurt C. Riester (Pro Hac Vice admission). Your login is:
                     kcriester. Go to the CM/ECF login page to set your password. (ecp) (Entered: 06/29/2017)

06/28/2017   Ï 119   MINUTES OF PROCEEDINGS before Magistrate Judge Paul Papak: Telephone Conference re:
                     venue−related discovery issues held 6/28/17. Discovery matters are taken under advisement.
                     Audra Eidem Heinze; Per Ramfjord present as counsel for plaintiff(s). Samuel Lu; Robert
                     Shlachter present as counsel for defendant(s). Court Reporter: (None). (gm) (Entered: 06/29/2017)

06/30/2017   Ï 120   ORDER. The parties have submitted a Joint Position Statement Regarding Venue−Related
                     Discovery Issues 115 , which I construe as Plaintiff's motion to compel discovery. As discussed
                     below, I grant in part and deny in part Plaintiff's motion to compel. (See attached 7−page order.)
                     Signed on 6/30/2017 by Magistrate Judge Paul Papak. (gw) (Entered: 06/30/2017)

07/18/2017   Ï 121   Joint Motion for Extension of Venue−Related Deadlines. Expedited Hearing requested. Filed by
                     Nike, Inc.. (Ramfjord, Per) (Entered: 07/18/2017)

07/19/2017   Ï 122   Second Supplement Second Notice of Supplemental Authority. Filed by Nike, Inc.. (Related
                     document(s): Response to Motion, 111 .) (Attachments: # 1 Exhibit A) (Ramfjord, Per) (Entered:
                     07/19/2017)

07/19/2017   Ï 123   ORDER issued by Magistrate Judge Paul Papak: Granting the parties' Joint Motion for Extension
                     of Time 121 as follows: Depositions of venue−related witnesses to be completed by 8/11/2017.
                     Response to motion to transfer venue due by 8/18/2017. Reply to response to motion to transfer
                     venue due by 8/28/2017. Order: Resetting Defendant's Motion to Transfer Venue to the Central
                     District of California 101 from 8/9/2017 at 10:00AM to the Oral Argument Calendar of 9/6/2017
                     at 10:00AM in Portland Courtroom 10B before Magistrate Judge Paul Papak. (gm) (Entered:
                     07/20/2017)

07/24/2017   Ï 124   Notice re Declaration 103 , Motion to change/transfer venue 101 titled as "Notice of Errata
                     Regarding Skechers' Expedited Motion to Transfer Venue and Declaration of Brian K. Cross in
                     Support Thereof" Filed by Skechers U.S.A., Inc. (Related document(s): Declaration 103 , Motion
                     to change/transfer venue 101 .) (DeJong, Timothy) (Entered: 07/24/2017)

07/24/2017   Ï 125   Amended Declaration of Brian K. Cross in Support of Skechers' Expedited Motion to Transfer
                     Venue. Filed by Skechers U.S.A., Inc.. (Related document(s): Declaration 103 , Notice, 124 ,
                     Motion to change/transfer venue 101 .) (DeJong, Timothy) (Entered: 07/24/2017)

08/03/2017   Ï 126   Joint Motion for Suspension of Deadlines Pending Resolution of Motion to Transfer Venue and
                     Motion to Compel. Expedited Hearing requested. Filed by Nike, Inc.. (Ramfjord, Per) (Entered:
                     08/03/2017)

08/07/2017   Ï 127   ORDER issued by Magistrate Judge Paul Papak: Granting the parties' Joint Motion for
                     Suspension of Case Deadlines 126 until after the Motion to Transfer or the Motion to Compel are
                     decided. (gm) (Entered: 08/07/2017)

08/18/2017   Ï 128
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 16 of 17 Page ID #:3047
                     Response in Opposition to Motion to Change or Transfer Venue titled as "Skecher's Expedited
                     Motion to Transfer Venue and Memorandum in Support" 101 Oral Argument requested.
                     (DOCUMENT RESTRICTED ACCORDING TO PROTECTIVE ORDER) Filed by Nike,
                     Inc.. (Ramfjord, Per) (Entered: 08/18/2017)

08/18/2017   Ï 129   Declaration of Kurt C. Riester in Support of Nike, Inc.'s Response Regarding 28 U.S.C. Sec.
                     1440(b). (DOCUMENT RESTRICTED ACCORDING TO PROTECTIVE ORDER) Filed by
                     Nike, Inc.. (Related document(s): Response in Opposition to Motion, 128 .) (Attachments: # 1
                     Exhibit 1 − Depo excerpts, # 2 Exhibit 2 − Depo excerpts, # 3 Exhibit 3 − Depo excerpts, # 4
                     Exhibit 4 − Depo excerpts, # 5 Exhibit 5 − Depo exhibit, # 6 Exhibit 6 − Depo exhibit, # 7 Exhibit
                     7 − Depo exhibits, # 8 Exhibit 8 − Depo exhibit, # 9 Exhibit 9 − Spreadsheet, # 10 Exhibit 10 −
                     Depo exhibit, # 11 Exhibit 11 − Depo exhibit, # 12 Exhibit 12 − Depo exhibit, # 13 Exhibit 13 −
                     Depo exhibit, # 14 Exhibit 14 − Depo exhibits, # 15 Exhibit 15 − Depo exhibit) (Ramfjord, Per)
                     (Entered: 08/18/2017)

08/28/2017   Ï 130   Reply to Motion to Change or Transfer Venue titled as "Skecher's Expedited Motion to Transfer
                     Venue and Memorandum in Support" 101 Oral Argument requested. (DOCUMENT
                     RESTRICTED ACCORDING TO PROTECTIVE ORDER) Filed by Skechers U.S.A., Inc..
                     (Lu, Samuel) (Entered: 08/28/2017)

08/28/2017   Ï 131   Declaration of Elliot Chen In Support Of Skechers' Reply to Expedited Motion to Transfer Venue.
                     (DOCUMENT RESTRICTED ACCORDING TO PROTECTIVE ORDER) Filed by
                     Skechers U.S.A., Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                     5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit
                     K) (Lu, Samuel) (Entered: 08/28/2017)

08/31/2017   Ï 132   Notice re Reply to Motion 114 titled as: "Skechers' Notice of Supplemental Authority" Filed by
                     Skechers U.S.A., Inc.. (Related document(s): Reply to Motion 114 .) (Attachments: # 1 Exhibit A)
                     (DeJong, Timothy) (Entered: 08/31/2017)

09/06/2017   Ï 133   MINUTES OF PROCEEDINGS before Magistrate Judge Paul Papak: Oral Argument held
                     9/6/17. Order: Defendant's Motion to Transfer Venue to the Central District of California 101 is
                     taken under advisement as of 9/6/2017. Audra Eidem Heinze; Erik Maurer; Nathan Brunette (for
                     Per Ramfjord) present as counsel for plaintiff(s). Samuel Lu; Timothy DeJong present as counsel
                     for defendant(s). Court Reporter: Bonita Shumway. (gm) Modified on 9/6/2017 to correct text.
                     NEF regenerated. (gm) (Entered: 09/06/2017)

09/06/2017   Ï 134   Notice of Appearance of Nathan C. Brunette appearing on behalf of Nike, Inc. Filed by on behalf
                     of Nike, Inc.. (Brunette, Nathan) (Entered: 09/06/2017)

09/06/2017   Ï 135   Notice re Response to Motion, 111 , Response in Opposition to Motion, 128 Plaintiff Nike, Inc's
                     Third Notice of Supplemental Authority Regarding Waiver Filed by Nike, Inc.. (Related
                     document(s): Response to Motion, 111 , Response in Opposition to Motion, 128 .) (Brunette,
                     Nathan) (Entered: 09/06/2017)

09/08/2017   Ï 136   Second Notice re Reply to Motion, 130 , Reply to Motion 114 , Notice, 135 Second Notice of
                     Supplemental Authority Filed by All Defendants. (Related document(s): Reply to Motion, 130 ,
                     Reply to Motion 114 , Notice, 135 .) (Attachments: # 1 Exhibit A) (DeJong, Timothy) (Entered:
                     09/08/2017)

09/13/2017   Ï 137   Third Notice re Motion Hearing Held,, 133 , Reply to Motion, 130 titled as: "Skecher's Third
                     Notice of Supplemental Authority" Filed by All Defendants. (Related document(s): Motion
                     Hearing Held,, 133 , Reply to Motion, 130 .) (Attachments: # 1 Exhibit A) (DeJong, Timothy)
                     (Entered: 09/13/2017)

09/21/2017   Ï 138   Notice re Motion Hearing Held,, 133 , Reply to Motion, 130 , Response in Opposition to Motion,
                     128 titled as: "Skecher's Fourth Notice of Supplemental Authority" Filed by All Defendants.
       Case 2:17-cv-08509-SVW-E Document 144 Filed 11/22/17 Page 17 of 17 Page ID #:3048
                     (Related document(s): Motion Hearing Held,, 133 , Reply to Motion, 130 , Response in
                     Opposition to Motion, 128 .) (Attachments: # 1 Exhibit A) (DeJong, Timothy) (Entered:
                     09/21/2017)

09/28/2017   Ï 139   OFFICIAL COURT TRANSCRIPT OF PROCEEDINGS FILED Oral Argument held on
                     9/6/2017 before Judge Paul Papak, Court Reporter Bonita J. Shumway, telephone number
                     503−326−8188 or bonita_shumway@ord.uscourts.gov. Transcript may be viewed at Court's
                     public terminal or purchased from the Court Reporter before the deadline for Release of Transcript
                     Restriction. Afterwards it may be obtained through the Court Reporter or PACER−See Policy at
                     ord.uscourts.gov. Notice of Intent to Redact Transcript is due by 10/5/2017. Redaction Request
                     due 10/19/2017. Redacted Transcript Deadline set for 10/30/2017. Release of Transcript
                     Restriction set for 12/27/2017. (Shumway, Bonita) (Entered: 09/28/2017)

11/14/2017   Ï 140   Findings & Recommendation: Defendant's Motion to Transfer Venue 101 should be granted.
                     This action should be transferred to the U.S. District Court for the Central District of California.
                     Signed on 11/14/17 by Magistrate Judge Paul Papak. (gm) (Entered: 11/14/2017)

11/14/2017   Ï 141   ORDER issued by Magistrate Judge Paul Papak: Findings & Recommendation 140 is referred to
                     Judge Michael H. Simon for review. Objections, if any, are due fourteen (14) days from service of
                     the Findings and Recommendation. If no objections are filed, then the Findings and
                     Recommendation will go under advisement on that date. If objections are filed, then a response is
                     due fourteen (14) days after being served with a copy of the objections. When the response is due
                     or filed, whichever date is earlier, the Findings and Recommendation will go under advisement.
                     (gm) (Entered: 11/14/2017)

11/15/2017   Ï 142   Joint Notice re Findings & Recommendation Referred,, 141 Filed by Nike, Inc.. (Related
                     document(s): Findings & Recommendation Referred,, 141 .) (Ramfjord, Per) (Entered:
                     11/15/2017)

11/17/2017   Ï 143   Order − Based on the parties' joint request to transfer this case (ECF 142 ), the Court adopts
                     Magistrate Judge Papak's Findings and Recommendation, transferring this case to the United
                     States District Court for the Central District of California. Ordered by Judge Michael H. Simon.
                     (mja) (Entered: 11/17/2017)
